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                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  APPLE’S MEMORANDUM IN
                    a Delaware corporation,                       SUPPORT OF ITS MOTION IN
           21                                                     LIMINE NO. 1: PRECLUDE
                                       Plaintiffs,                REFERENCES TO OTHER
           22                                                     LITIGATIONS AND PROCEEDINGS
                          v.
           23       APPLE INC.,                                   Date: Mar. 13, 2023
           24       a California corporation,                     Time: 1:30pm

           25                          Defendant.
                                                                  Pre-Trial Conference: Mar. 13, 2023
           26                                                     Trial: Mar. 28, 2023

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                        UNREDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           28
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                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1                                           INTRODUCTION
             2               Courts routinely grant motions in limine to preclude parties from referring to the
             3      existence or outcome of, and evidence or argument from, other litigations and collateral
             4      administrative proceedings. Such references impair the jury’s ability to bring its own
             5      independent perspective to the issues in dispute and muddle the issues at trial with
             6      irrelevant and unfairly prejudicial evidence. Permitting references to other litigations
             7      and proceedings also wastes trial time and can give rise to “trial within a trial” problems,
             8      as parties are required to put on otherwise-irrelevant evidence to contextualize the
             9      snippets of other proceedings introduced by the opposing party. To prevent such
           10       problems, Apple respectfully requests that the Court exclude all references to the
           11       existence of and evidence, testimony, and argument from other litigations and
           12       administrative proceedings.1
           13                                              ARGUMENT
           14                Evidence is relevant, and therefore may be admissible, if it both “has any tendency
           15       to make a fact more or less probable than it would be without the evidence,” and “the
           16       fact is of consequence in determining the action.” Fed. R. Evid. 401. “Irrelevant
           17       evidence is not admissible” for any purpose, Fed. R. Evid. 402, and even relevant
           18       evidence should be excluded “if its probative value is substantially outweighed by a
           19       danger of,” inter alia, “unfair prejudice, confusing the issues, misleading the jury, undue
           20       delay, [or] wasting time.” Fed. R. Evid. 403.
           21                Hearsay evidence is also inadmissible, unless a federal statute, a provision of the
           22       Federal Rules of Evidence, or another rule promulgated by the Supreme Court provides
           23       otherwise. Fed. R. Evid. 802. Therefore, “[a]s a general rule, a party is prohibited from
           24
           25       1
                      The need for clear rules is critical here given Plaintiffs’ history. Specifically, Plaintiffs’
           26       lead counsel at Knobbe Martens has previously committed what a district court judge
                    described as “attorney misconduct” by violating a standing order barring references to
           27       Masimo’s trade secret litigation against another company. See Masimo Corp. v. Philips
                    Elec. N. Am. Corp., 2015 WL 2379485, at *13 (D. Del. May 18, 2015).
           28
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             1      introducing a statement made by an out-of-court declarant when it is offered at trial to
             2      prove the truth of the matter asserted.” United States v. Torres, 794 F.3d 1053, 1059
             3      (9th Cir. 2015).
             4      I.    REFERENCES TO THE EXISTENCE OR OUTCOMES OF, OR EVIDENCE OR
             5            ARGUMENT FROM, OTHER LITIGATION SHOULD BE EXCLUDED
             6            Courts, including this one, routinely preclude evidence of other litigations and
             7      administrative proceedings as irrelevant, hearsay, and unduly prejudicial. See, e.g., Ohio
             8      House LLC v. City of Costa Mesa, 2022 WL 2189541, at *2 (C.D. Cal. Mar. 28, 2022)
             9      (Selna, J.) (excluding “evidence of prior litigation” under FRE 401, 801, and 403); see
           10       also, e.g., Maxell, Ltd. v. Apple Inc., 2021 WL 3021253, at *6-7 (E.D. Tex. Feb. 26,
           11       2021); Grace v. Apple Inc., 2020 WL 227404, at *1-2 (N.D. Cal. Jan. 15, 2020); Novartis
           12       Pharms. Corp. v. Teva Pharms. USA, Inc., 2009 WL 3754170, at *9 (D.N.J. Nov. 5,
           13       2009) (excluding evidence of prior and collateral litigations under, inter alia, FRE 402,
           14       403, and 802, because such evidence is “likely to result in unfair prejudice, confusion
           15       and undue delay”). The same basic approach should be followed in this litigation—the
           16       parties should be precluded under FRE 402, 403, and 802 from referring to or presenting
           17       any evidence or argument regarding or from other litigations or collateral administrative
           18       proceedings.
           19             First, any prior ruling from another case would be irrelevant within the meaning
           20       of FRE 402, as it “will shed no light on any issue in this case.” Ohio House, 2022 WL
           21       2189541, at *2. The outcome of another case does not make it any more or less likely
           22       that the purported trade secrets had value from not being generally known or readily
           23       ascertainable, that Plaintiffs possessed and owned them, that Plaintiffs employed
           24       reasonable efforts to maintain their confidentiality, that Apple misappropriated them, or
           25       that Plaintiffs’ employees should have been listed as co-inventors on certain patents.
           26       Nor would any evidence concerning the other litigations or collateral proceedings be
           27       relevant to any other material factual dispute that will come before the jury.
           28
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             1               The same basic analysis applies for arguments and evidence offered in other
             2      proceedings. That Apple—or anyone else—may have made a particular argument in
             3      another proceeding says nothing about Apple’s position in this case, absent some kind
             4      of estoppel or preclusion argument. Plaintiffs have not timely raised such an argument,
             5      and this Court has held it is too late for them to do so at this point in the case. See Dkt.
             6      896 at 4-6. As for the evidence adduced in a prior litigation, the parties have certain
             7      limited agreements on the use of evidence from proceedings related to and litigated in
             8      parallel with this one, but the fact that evidence was accepted into the record in another
             9      proceeding is irrelevant to any factual dispute that could come before the jury in this
           10       trial.    Therefore, to the extent evidence from a prior proceeding comes in as
           11       independently admissible, the Court should preclude any reference to the fact that it was
           12       previously used elsewhere.2
           13                Second, with regard to FRE 802, “[a] court judgment is hearsay to the extent that
           14       it is offered to prove the truth of the matters asserted in the judgment,” and “the
           15       introduction of discrete judicial factfindings and analysis underlying the judgment to
           16       prove the truth of those findings and that analysis constitutes the use of hearsay.” United
           17       States v. Sine, 493 F.3d 1021, 1036 (9th Cir. 2007). Therefore, “unless [a prior judicial]
           18       order comes within” one of the “[t]wo hearsay exceptions in the Federal Rules of
           19       Evidence [that] explicitly allow for the admission of judgments”—Rules 803(22) and
           20       803(23), neither of which applies here—“references to the order should not … be[]
           21       allowed.” Id.; see also, e.g., Ohio House, 2022 WL 2189541, at *2 (“To the extent [a
           22       party] wishes to present to the jury the actual prior rulings [of related litigation], such
           23
           24
           25
                    2
           26         If parties use transcripts from prior proceedings for impeachment, references to those
                    transcripts can be made generic, so the jury may be informed that the testimony was
           27       sworn without learning why. See, e.g., Crouch v. John Jewell Aircraft, Inc., 2016 WL
                    9459354, at *2 (W.D. Ky. Mar. 29, 2016) (taking this approach).
           28
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             1      evidence would be [inadmissible] hearsay.”).3 Because there is no relevant, non-hearsay
             2      purpose for which Plaintiffs could refer to prior litigations and proceedings collateral to
             3      this trial, such evidence and argument should be excluded under FRE 802.
             4               Third, with regard to FRE 403, the Ninth Circuit has cautioned against allowing
             5      jurors to learn about the results of prior cases because “jurors are likely to defer to
             6      findings and determinations ... made by an authoritative, professional factfinder rather
             7      than determine those issues for themselves,” so “such evidence should [generally] be
             8      excluded under Rule 403.” Sine, 493 F.3d at 1033-1034. Presenting arguments made
             9      in prior proceedings would also be unfairly prejudicial and confuse the jury, because the
           10       arguments would be totally disconnected from the factual and legal context in which
           11       they were originally made.        And admitting “evidence and testimony concerning”
           12       collateral or related litigation like Masimo v. True Wearables and administrative
           13       proceedings concerning the technologies at issue in this case are also “likely to give rise
           14       to time-consuming tangents about the merits of those [proceedings] … particularly …
           15       in light of the fact that the procedural history of [those proceedings], which involves” a
           16       district court trial, a Federal Circuit appeal, and related administrative proceedings
           17       before two different agencies, “is complex and long-running.” Grace, 2020 WL 227404,
           18       at *3.4 The same is true with Masimo’s trade secret litigations against other companies,
           19       including Nellcor and Philips.5
           20
                    3
                      FRE 803(22) involves criminal convictions, and FRE 803(23) is limited to judgments
           21       that prove “a matter of personal, family, or general history, or boundaries.”
           22       4
                      Cases and proceedings in this category include Masimo Corp. v. True Wearables, No.
                    18-cv-2001 (C.D. Cal. Apr. 28, 2021), aff’d, 2022 WL 205485 (Fed. Cir. Jan. 24, 2022),
           23       Apple, Inc. v. Masimo Corp., No. 22-cv-1378 (D. Del. 2022); Certain Light-Based
                    Physiological Measurement Devices And Components Thereof, Inv. No. 337-TA-1276,
           24       USITC (Jan. 10, 2023); and inter partes review proceedings between the parties before
                    the U.S. Patent and Trademark Office.
           25
                    5
                     Cases in this category include Mallinckrodt, Inc. v. Masimo Corp., No. 00-cv-6506
           26       (C.D. Cal. July 14, 2004), affirmed in part 147 Fed. Appx 158 (Fed. Cir. 2005); Nellcor
                    Puritan Bennett, Inc. v. Masimo Corp., No. 5:03-cv-603; Masimo Corp. v. Philips Elec.
           27
                                                                                     (Cont’d on next page)
           28
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             1            As this Court has previously explained, “[t]o show that prior litigants have lost”
             2      litigation against Masimo and Ceracor “says nothing about the merits of this case and
             3      would clearly be prejudicial with no counterbalancing probity.” Ohio House, 2022 WL
             4      2189541, at *2 (excluding references to seven related litigations involving the defendant
             5      under, inter alia, FRE 403). However, litigation involving any of the parties and issues
             6      at all related to this case should still be excluded as irrelevant, unfairly prejudicial, and
             7      distracting to the jury.
             8            Any references to the True Wearables litigation, for example, would be extremely
             9      prejudicial for two reasons. First, because True Wearables—to which Apple was not a
           10       party—involved similar allegations, there is a high likelihood that the jury’s
           11       deliberations would be unduly swayed by the outcome of True Wearables. See Maxell,
           12       2021 WL 3021253, at *7 (“While the prior verdict involved some of the same patents
           13       asserted here, its probative value is minimal, as the [prior] case involved different
           14       parties, accused products, witnesses and prior art. And admitting the [prior] verdict
           15       would unfairly prejudice Apple by inviting the jury here to defer to the [prior] jury’s
           16       verdict, rather than discharging their duty to resolve the current dispute.”). Presenting
           17       the Court’s True Wearables findings to the jury would also be especially prejudicial in
           18       light of the Court’s ruling that Plaintiffs are barred from asserting collateral estoppel
           19       from True Wearables against Apple, see Dkt 896 at 3-6, as the jury might be confused
           20       over whether it is bound by aspects of the prior findings.
           21             Second, because True Wearables was tried before this Court in a bench trial,
           22       Plaintiffs’ references to its outcome or findings would inappropriately lend the Court’s
           23       credibility to Plaintiffs, because they would be offering the Court’s prior findings and
           24       rulings for their truth. This would “impart[] to the [Plaintiffs’] case” the Court’s
           25       “prestige, dignity, and authority … by the judge’s appearance on its behalf.” Sine, 493
           26
           27       N. Am. Corp., No. 09-cv-80 (D. Del. Oct. 17, 2014), and other cases related and
                    consolidated thereto.
           28
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             1      F.3d at 1034 (quotation marks omitted); see also id. at 1033-1034 (“‘The judge presiding
             2      at the trial may not testify in that trial as a witness.’” (quoting Fed. R. Evid. 605)).
             3                                           CONCLUSION
             4            Apple therefore respectfully requests that the Court preclude Plaintiffs from
             5      offering any evidence, testimony, or argument about or making any reference before the
             6      jury to any other litigation or proceeding.
             7
             8      Dated: February 13, 2023                 Respectfully submitted,

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             1                             CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3      brief contains 1,790 words, which:
             4            X complies with the word limit of L.R. 11-6.1.
             5               complies with the word limit set by court order dated [date].
             6
             7      Dated: February 13, 2023              Respectfully submitted,
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